      Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 1 of 13                             FILED
                                                                                             2006 Jun-30 AM 09:09
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION



UNITED STATES OF AMERICA


VS.                                                                 CR 05-PT-61-S

JEWELL C. “CHRIS” McNAIR
GRADY R. “ROLAND” PUGH
JOSEPH E. “EDDIE” YESSICK
ROLAND PUGH CONSTRUCTION, INC.
BOBBY J. RAST
DANIEL B. “DANNY” RAST,
RAST CONSTRUCTION, INC.
FLOYD W. “PAT” DOUGHERTY
F. W. DOUGHERTY ENGINEERING
& ASSOCIATES, INC.

               Defendants

                                 MEMORANDUM OPINION

       The court has before it a number of post-verdict motions filed by all the defendants with a

litany of stated grounds. The court finds the following grounds to be worthy of further

discussion. Most, if not all, of these grounds have been asserted by all defendants.

I.     The Quid Pro Quo Issue

       The court has previously addressed this issue in a pre-trial memorandum opinion dated

March 24, 2006, attached hereto, addressing various motions in limine. The court adheres to that

opinion and hereby adopts it with regard to the post-verdict motions. Particularly noteworthy is

the cited Jennings case. Also see U. S. v. Paradies, 98 F.3d 1266 1289 (11th Cir. 1996).

       Here, there was strong circumstantial evidence of intent to influence or reward or to be


                                                 1
     Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 2 of 13




influenced or rewarded. This includes:

          (1) The large amounts involved.

       (2) The attempts to conceal the nature of the payments.

       (3) As to defendant Chris McNair, the large cash deposits. (See further discussion

below).

       (4) The significant Rule 404(b) evidence related to contractors and other officials

involved with the same overall project.

       (5) The interaction among the defendants.

       There is another factor which refutes the defendants’ quid pro quo arguments which was

not directly discussed in this court’s earlier opinion. Section 666 provides for separate offenses

with regard to “bribers” and “bribees.” The separate issues are (1) whether an alleged “briber”

intended to influence or reward and/or (2) whether an alleged ‘bribee” intended to be influenced

or rewarded. The crux of each issue is the intent and corruptness of either the giver or receiver.

Under the statute, it is not necessary that the alleged “briber” and “bribee” both have a corrupt

intent. One could be found guilty and the other not. That this is true further undermines the

argument that there must be a specific quid pro quo. As stated in Sabri v. United States, 541

U.S. 600, 606 (2004), “And officials are not any the less threatening to the objects behind federal

spending just because they may accept [or give] general retainers.”1

       An alleged briber may have the intent necessary to support a charge of giving with the intent

to influence or reward and the alleged bribee may or may not have the intent to be so influenced or




       1
           Also see U. S. v. Massey, 89 F.3d 1433, 1439 (11th Cir. 1996).

                                                          2
      Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 3 of 13




rewarded.2 Section 666 does not require concerted action. It does not require a joint corrupt intent

to give and a corrupt intent to receive. The offenses are separately stated and proscribed.

II.      Cash Deposits By Defendant McNair

         This evidence was admitted as evidence of McNair’s corrupt intent. The jury was

instructed that the evidence was not applicable to any other defendant on trial.3

       According to U.S. v. Lattimore, 902 F.2d 902 (11th Cir. 1990), "[w]here the charged crime

involves pecuniary gain and the Government presents other evidence of the defendant's guilt,

evidence of the sudden acquisition of money by the defendant or his or her spouse is admissible,

even if the government does not trace the source of the new wealth." Id. at 903 (citing numerous

cases). In U.S. v. Manning, 440 F.2d 1105 (5th Cir. 1971), a defendant was convicted of bank

robbery and appealed, claiming that the unexplained wealth had not been traced back to the bank

robbery and there was no evidence that he had been impecunious at the time of the alleged

crime.4 The Fifth Circuit Court of Appeals affirmed the conviction, stating: "Where there is other

evidence of the guilt of the accused and the crime is of such a nature that the acquisition of

money may be regarded as a natural or ordinary result of its perpetration, evidence is admissible

of the sudden acquisition of money by the defendant...at or subsequent to the time the offense

was committed, although the source of the money is not definitely traced or identified by the


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             It should be noted that the terms “bribe,” “bribery,” etc. are not used in the body of § 666. The provisions
relate to intent to influence or reward or to be influenced or rewarded. The term “bribery” is in the title only. U. S.
v. Diamond Growers of Calif., 526 U.S. 398 (1999) is clearly distinguishable. The defendant in that case was
charged with violating 18 U.S.C. § 201(d)(1)(A) which provides that it is an offense to give “for or because of any
official act performed or to be performed ...” (Emphasis added).

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         The defendants have suggested that the Government was derelict in not offering proof that much of these
amounts came from defendant(s) not on trial. The defendants had access to the same evidence.

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             Here, there was evidence that McNair was having difficulty paying for his building.

                                                             3
     Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 4 of 13




prosecution." Id. at 1110. This concept has been articulated by the Fifth Circuit as “subsequent

unexplained wealth.” See U.S. v. White, 589 F.2d 1283, 1286 (5th Cir. 1979).

       In Williams v. U.S., 168 U.S. 382 (1897), the Supreme Court held that evidence was

inadmissible in a trial for extortion in taking specified sums of money where the amounts did not

correspond with the amounts shown to have been in the possession of the defendant and there

was no evidence of a connection between them. The defendant had been accused of embezzling

$100 once and $85 another time, yet there was no evidence of these amounts being deposited in

the account in question. According to 123 A.L.R. 119, p. 20, “[t]his case is often cited as

opposed to the rule that evidence of the sudden acquisition of money, the source of which is not

traced, is admissible in a criminal case....” However, Williams has been distinguished in the pre-

split Fifth Circuit twice, basically limiting Williams to its facts. See Self v. U.S., 249 F.2d 32 (5th

Cir. 1957); U.S. v. Manning, 440 F.2d 1105 (5th Cir. 1971).

       In U.S. v. Jackskion, 102 F.2d 683 (2d Cir. 1939), the Second Circuit Court of Appeals

gave an analysis of Williams. In Jackskion, evidence of increased amounts in the defendant’s

bank account, along with direct evidence of operation of illegal stills, was allowed in by the trial

court. According to the Jackskion court:

                 Jackskion urges that it was reversible error to admit evidence of his bank
       account, citing Williams v. United States, 168 U.S. 382, 18 S.Ct. 92, 42 L.Ed. 509.
       It is the general view that where a defendant is on trial for a crime in which pecuniary
       gain is the usual motive, evidence of the sudden acquisition of money by the
       defendant is admissible, even though the source of the money is not traced.
       Commonwealth v. Mulrey, 170 Mass. 103, 49 N.E. 91; Commonwealth v. Coyne, 228
       Mass. 269, 117 N.E. 337, 3 A.L.R. 1209; People v. Connolly, 253 N.Y. 330, 171
       N.E. 393; Campanelli v. United States, 9 Cir., 13 F.2d 750; O'Shea v. United States,
       6 Cir., 93 F.2d 169; Wigmore on Evidence, section 154; Wharton's Criminal
       Evidence, section 194. As pointed out by Mr. Justice Holmes in Commonwealth v.
       Mulrey, supra, such evidence may, when taken with proof of other facts, have a


                                                   4
     Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 5 of 13




       logical tendency to prove criminal misconduct. The weight will of course vary,
       depending among other things on whether the money was kept secretively by the
       accused. See People v. Connolly, supra; O'Shea v. United States, supra. In Williams
       v. United States, supra, relied on by the appellant, the defendant was on trial for
       having extorted specific sums, $100 in one case and $85 in the other, from Chinese
       under color of his office as Chinese inspector. Evidence that he had deposited
       between $4,000 and $5,000 in his bank account in the year when the offenses were
       said to have been committed was held inadmissible. The discussion in the Williams
       case, however, shows that no general rule of evidence was laid down. The case is to
       be taken, we think, as no more than a ruling on the particular facts there presented.
       It was so treated by the Sixth Circuit in O'Shea v. United States; supra. We are
       therefore of opinion that the District Court was right in permitting the prosecution to
       show that Jackskion's bank balance, normally at an amount between $500 and
       $1,000, had in a year climbed to more than $8,000.

U.S. v. Jackskion, 102 F.2d 683, 684 (2d Cir. 1939).

       In State v. Nevius, 71 N.E. 2d 258 (Oh. 1947), a prosecuting attorney was charged with

accepting a bribe to allow others to operate a gambling establishment. There was evidence that

the defendant had expended $12,000 more than his salary over the course of 3 ½ years, and that

he had been to the establishment a few times, each time remaining only for a short period.

According to the Ohio Supreme Court:

              The following observations of Circuit Judge Patterson in the course of his
       opinion in United States v. Jackskion, 102 F.2d 683, 684, 123 A.L.R. 116, are
       apposite here:

                       ‘It is the general view that where a defendant is on trial for a
               crime in which pecuniary gain is the usual motive, evidence of the
               sudden acquisition of money by the defendant is admissible, even
               though the source of the money is not traced [citing cases]. As
               pointed out by Mr. Justice Holmes in Commonwealth v. Mulrey,
               supra, [170 Mass. 103, 49 N.E. 91], such evidence may, when taken
               with proof of other facts, have a logical tendency to prove criminal
               misconduct.’ Compare People v. Connolly, 253 N.Y. 330, 171 N.E.
               393.

                      The Court of Appeals correctly stated the question as follows
               [66 N.E.2d 243, 248]: ‘The legal question presented is whether the


                                                  5
     Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 6 of 13




               jury, having found that the total income was larger than from known
               sources, could draw the conclusion that the excess represented money
               paid appellant [Nevius] by Parisi or Schear to influence appellant in
               the discharge of his duty as prosecuting attorney.'

                       The Court of Appeals came to the conclusion that the direct
               and circumstantial evidence was insufficient to sustain the verdict
               without piling inference upon inference. With such conclusion we
               cannot agree. We are of the opinion that the proven facts and
               circumstances in this case form a sufficient basis for an inference of
               guilt beyond a reasonable doubt. It was not necessary for the jury to
               base an inference upon an inference. The inference of guilt is the only
               probable or natural explanation of the proven facts and circumstances.
               As stated by Judge Wilkin in Ensel v. Lumber Ins. Co. of New York,
               88 Ohio St. 269, 282, 102 N.E. 955, 959,‘An ‘inference’ is a
               conclusion which, by means of data founded upon common
               experience, natural reason draws from facts which are proven.'

               Section 13444-1, General Code, provides: ‘The rules of evidence in
               civil causes insofar as the same are applicable, shall govern in all
               criminal causes except as otherwise provided in this code.'

                       In the case of Summons v. State, 5 Ohio St. 325, at page 343,
               Chief Justice Bartley said: ‘The general rules of evidence, the sole
               object of which is the ascertainment of truth, are usually the same
               both in civil and in criminal cases.'

                       In 17 Ohio Jurisprudence 181, Section 139, it is said: ‘There
               can be no question at the present day as to the competency of
               circumstantial evidence. Circumstantial evidence is frequently
               resorted to in criminal cases, for in many instances the fact of the
               crime can only be proved by such evidence.' Bribery is one of the
               crimes where it is frequently, if not usually, necessary to rely on
               circumstantial evidence.

State v. Nevius, 71 N.E. 2d 258, 265 (Oh. 1947).

       McNair may argue that he had no obligation to testify and explain the source(s) of the

cash cache. In any event, however, his daughter testified and was unable to explain the source(s)

even though she was active in McNair’s business. She did not believe that it came from his



                                                 6
       Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 7 of 13




business.

          In a myriad of drug cases, evidence of cash has been admitted without further evidence of

specific sources. The evidence here was certainly admissible to prove McNair’s intent.

III.      Conspiracy

          There was evidence of an almost club-like atmosphere among the various contractors and

McNair and each other. There was evidence of cooperation among the defendant contractors

with regard to work projects on behalf of McNair. There was evidence of contractors

undertaking to enlist other contractors and aiding each other in this regard. The Dougherty

supervisor of the McNair Photo Studio project dealt with other defendants regarding the project.

There was evidence of “interdependence” and coordination among the defendants. Either

McNair or Dougherty could be considered the “key man.” See U. S. v. Taylor, 17 F.3d 333 (11th

Cir. 1994) and U. S. v. Champion, 813 F.2d 1154 (11th Cir. 1987). There can be a single

conspiracy with multiple objects (i.e. to give and/or receive.). See U. S. v. Anderson, 872 F.2d

1508 (11th Cir. 1989). Whether the evidence supports finding a single conspiracy is a question

of fact for the jury. See U. S. v. Tokars, 95 F.3d 1520 (11th Cir. 1996); U. S. v. McKinley, 995

F.2d 1020 (11th Cir. 1993) (charge of several offenses, proof of any one); and Griffin v. U. S.,

502 U.S. 46 (1991) (more than one object charged). The overall evidence of a conspiracy was

strong.

          Defendants rely upon U. S. v. Sager, 49 F.2d 725 (2nd Cir. 1931). This court does not

agree with the following language in Sager as applied to Section 666:

          There may not be a conspiracy founded on a crime to commit bribery between
          persons, one charged with the intended taking and several charged with giving the
          same bribe. Concert is always necessary to an agreement to take and to give a bribe;


                                                   7
     Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 8 of 13




       it is always necessary to an intended taking and an intended giving; and it is
       necessary to the receipt of a bribe and the giving of a bribe.


       The defendants have argued that there cannot be a conspiracy between bribers and

bribees. Be that as it may, there can certainly be a conspiracy among bribers.

       Furthermore, it is well established that a person may be liable for a conspiracy even

though he was incapable of committing the substantive offense(s).

       The defendants have relied upon “Wharton’s Rule” for the proposition that if the offense

necessarily involves two participants, the crime charged cannot be prosecuted as a conspiracy.

The usual example given is adultery. See Iannelli v. U. S., 420 U. S. 770 (1975). This case is

clearly distinguishable from cases covered by Wharton’s Rule. As discussed above under I, the

offense of receiving with the intent to be influenced or rewarded is a separate offense from giving

to influence or reward. While the two participants might well be charged in the same substantive

count of adultery, it would likely be inappropriate to charge a briber and bribee under § 666 in

the same substantive count. In each instance, the crux is the intent of (1) the receiver and/or (2)

the giver. One could be guilty and the other not. The required intents are different. The

following discussion in U. S. v. Brenson, 104 F.3d 1267, 1283 (11 th Cir. 1997) is pertinent:

                The Wharton Rule states as follows: “[a]n agreement by two persons to
       commit a particular crime cannot be prosecuted as a conspiracy when the crime is of
       such a nature as to necessarily require the participation of two persons for its
       commission. Iannelli v. United States, 420 U. S. 770, 773, n. 5, 95 S.Ct. 1284, 1288,
       n. 5, 43 L.Ed.2nd 616 (1974). The classic example of the crime of adultery was used
       by Brenson to demonstrate the applicability of the Wharton Rule. Ianelli, 420 U.S.
       770, 784, n. 15, 95 S.Ct. 1284, 1293, n. 15, 43 L.Ed.2d 616 (1975). Brenson argues
       that the conspiracy conviction in this case violates the Wharton Rule based on the test
       set forth in Iannelli. The Supreme Court suggested that a court look at the elements
       of both the substantive offense and the conspiracy charge and if one requires proof
       of a fact that the other does not, then there is no violation of the Wharton Rule. 420


                                                 8
      Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 9 of 13




        U.S. at 786, n. 17, 95 S.Ct. at 1294, n. 17.

                 As the government has pointed out, a person may violate Section 1503
        without acting in concert with another or absent any assistance from another person,
        as when an individual, acting alone destroys evidence relevant to a judicial
        proceeding. United States v. Howard, 569 F.2d at 1334. Alternatively, even when
        dealing with the disclosure of grand jury information, an individual could violate §
        1503 singularly by simply providing such information to another individual when
        such disclosure would have the probable effect of impeding the due administration
        of justice, without any agreement with the second person. In other words, there is no
        requirement that the government prove an “agreement” in order to properly convict
        an individual under § 1503. Thus, the prosecution and conviction of Brenson under
        § 1503 and for a conspiracy to violation § 1503 under § 371 does not violate the
        Wharton Rule.

        One person could be a briber. One person could be a bribee. Neither crime requires that both

agree to its commission.

        Also see Brenson for a good general discussion of conspiracy charges and the proof

required. Compare Direct Sales Co. v. U. S., 319 U. S. 703 (1943) and U. S. v. Frink, 912 F.2d

1413 (11th Cir. 1990).

                ...The government may prove the existence of an agreement by
        circumstantial evidence through “inferences from the conduct of the alleged
        participants or from circumstantial evidence of a scheme.”

U.S. v. Obregon, 893 F.2d 1307, 1311 (11th Cir. 1990) (quoting United States v. Tamargo, 672

F.2d 887, 889 (11th Cir. 1982)).

IV.     Sufficiency of Evidence

        The following statements in U. S. v. Ward, 197 F.3d 1076, 1079 (11th Cir. 2000) govern

this court’s consideration of the various motions related to the sufficiency of the evidence.5

                 ...In considering a motion for the entry of judgment of acquittal under Federal


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        For standards regarding motions for new trial, See U. S. v. Martinez, 763 F.2d 1297, 1313 (11th Cir.
1985). The court concludes that the verdicts were not contrary to the weight of the evidence.

                                                        9
     Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 10 of 13




       Rule of Criminal Procedure 29(c), a district court should apply the same standard
       used in reviewing the sufficiency of the evidence to sustain a conviction. See United
       States v. Sellers, 871 F.2d 1019, 1020 (11th Cir. 1989). The district court must view
       the evidence in the light most favorable to the government. See id. (citing Glasser
       v. United States, 315 U.S. 60, 80, 62 S.Ct. 457, 86 L.Ed. (680) (1942), superceding
       by rule on other grounds, Bourjaily v. United States, 483 U.S. 171, 107 S.Ct. 2775,
       97 L.Ed.2d 144 (1987)). The court must resolve any conflicts in the evidence in
       favor of the government, see United States v. Taylor, 972 F.2d 1247, 1250 (11th Cir.
       1992), and must accept all reasonable inferences that tend to support the
       government’s case. See United States v. Burns, 597 F.2d 939, 941 (5 th Cir. 1979).
       The court must ascertain whether a reasonable jury could have found the defendant
       guilty beyond a reasonable doubt. See Sellers, 871 F.2d at 1021 (citing United States
       v. O’Keefe, 825 F.2d 314, 319 (11 th Cir. 1987). “ ‘It is not necessary for the
       evidence to exclude every reasonable hypothesis of innocence or be wholly
       inconsistent with every conclusion except that of guilt, provided a reasonable trier of
       fact could find that the evidence establishes guilt beyond a reasonable doubt.’”
       Sellers, 871 F.2d at 1021 (quoting United States v. Bell, 678 F.2d 547, 549 (5th Cir.
       Unit B 1982) (en banc), aff’d on other grounds, 462 U.S. 356, 103 S.Ct. 2398, 76
       L.Ed.2d 638 (1983)). A jury is free to chose among reasonable constructions of the
       evidence. See Sellers, 871 F.2d at 1021. The court must accept all of the jury’s
       “reasonable inferences and credibility determinations.” See id. (citing United States
       v. Sanchez, 722 F.2d 1501, 1505 (11th Cir. 1984)). (Footnote omitted)

       Applying those standards, this court is satisfied that the evidence was sufficient to support

the convictions.

V.     Instruction on Definition of “Corruptly.”

       The instruction that the court gave is the § 666 one used in the Eleventh Circuit Pattern

Instructions for criminal cases. It is also the one given and approved in United States v. Woodall,

(Unpublished) No. 05-13836 (11th Cir. March 21, 2006), a § 666 bribery case. Also see United

States v. Brenson, supra, 104 F.3d at 1280-1281 and United States v. Popkin, 943 F.2d 1535,

1539-40 (11th Cir. 1991).

       The Eleventh Circuit Pattern charge is, in effect, an expansion of the definition of

“corruptly” approved in U. S. V. Reeves, 752 F.2d 995, 1001 (5th Cir. 1985). Neither that case



                                                 10
       Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 11 of 13




nor any other cited case requires a reference to any specific unlawful offense. The essence is that

there be “dishonesty.”

VI.      General Jury Instructions

         The defendants have argued that the court should have given the jury specific theory of

the defense instructions with regard to friendship. At the request of one or more defendants, the

court added an instruction to the pattern charge, emphasizing that a mere gift is not sufficient.

The court merely declined to suggest that a friend cannot bribe a friend.6

         The court, at defendant Roland Pugh’s request, added a reference to the Pattern Aiding

and Abetting charge regarding relatives and co-employees.

         In general see U. S. V. Williams, 445 F.3d 1302, 1309-10 (11th Cir. 2006).

VII.     404 (b) Evidence

         This case presented highly significant issues of intent and corruptness. When the court

addressed the pretrial motions in limine, it gave the defendants an opportunity to disavow the

intent issue. None did. All made intent the main issue. The defendants’ arguments with regard

to quid pro quo further emphasize the government’s need for 404(b) evidence.

                 “The greater the government’s need for evidence of intent, the more likely
         that the probative value will outweigh any possible prejudice.”

U.S. v. Brewer, Slip Copy, No. 05-11451, 2005 WL 2298295, at *3 (11th Cir. Sep. 22, 2005)

(quoting U.S. v. Delgado, 56 F.3d 1357, 1366 (11th Cir. 1995)).

               “The factors determining this analysis include "the strength of the
         government's case on the issue of intent, the overall similarity of the extrinsic and


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          As indicated in U.S. v. Paradies, 98 F.3d 1266, 1287 (11th Cir. 1996), the court is not required to place
“desired factual findings into the mouth of the court,” or to argue or to merely emphasize “a certain phase of the
evidence.”

                                                         11
    Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 12 of 13




         charged offenses, the amount of time separating the extrinsic and charged offenses
         and whether it appeared at the commencement of trial that the defendant would
         contest the issue of intent." United States v. Dorsey, 819 F.2d 1055, 1061 (11th
         Cir.1987), cert. denied, 486 U.S. 1025, 108 S.Ct. 2002, 100 L.Ed.2d 233 (1988). In
         this case, these factors favor admission of the challenged testimony. The element of
         criminal intent was arguably the weakest link in the government's case, and the focus
         of the defense.” (Emphasis added).

U.S. v. Muscatell, 42 F.3d 627, 631 (11th Cir. 1995). All emphasized factors apply here.

         In U.S. v. Delgado, 56 F.3d 1357, 1366 (11th Cir. 1995), the Eleventh Circuit Court of

Appeals stated in reference to the admissibility of extrinsic evidence, “[t]he greater the

government's need for evidence of intent, the more likely that the probative value will outweigh

any possible prejudice.”

                 “[It is required] that the probative value of the extrinsic act evidence not
         be substantially outweighed by any unfair prejudice caused by that evidence. In
         determining whether this part of the test is satisfied, a court should consider the
         differences between the charged and extrinsic offenses, their temporal remoteness,
         and the government’s need for the evidence to prove intent.”

U.S. v. Diaz-Lizaraza, 981 F.2d 1216, 1225 (11th Cir. 1993).

         The offenses were similar and temporally close. The 404(b) evidence was clearly

appropriate to meet the government’s requirement to prove intent. The defendants claimed that

the repeated substantial gifts were out of admiration and friendship. Thus, intent was directly at

issue.

VIII.    Post Resignation Evidence

         While the court granted judgments of acquittal with regard to charges of gifts after McNair’s

resignation as a commissioner, the evidence with regard thereto was relevant. It showed a continuing

relationship which, arguably, could have been beneficial to the defendants under their “friendship”

arguments. The evidence was not remote to the pre-resignation conduct. While the court ruled that


                                                  12
     Case 2:05-cr-00061-RDP-TMP Document 679 Filed 06/30/06 Page 13 of 13




McNair could not be bribed after he resigned, the evidence related to continuing to reward him.7

         This the 30th day of June, 2006.




                                                       ROBERT B. PROPST
                                             SENIOR UNITED STATES DISTRICT JUDGE




         7
           The court’s ruling granting judgments of acquittal may or may not have been correct. W hile it seems clear
that the “receiving” provisions of § 666 require that the agent be in office, it is not so clear that the “giving”
provisions so require. Someone who has been an agent could be rewarded. The words “being an agent” are not in
the giving provision. They are in the receiving provision. Compare, however, 18 U.S.C. § 201(c)(1)(A) which
specifically refers to a “former” public official.

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